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                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF OHIO

                             WESTERN DIVISION


UNITED STATES OF AMERICA,           ) CASE NO. 3:13-CR-134
                                    )
                  Plaintiff,        ) JUDGE JAMES G. CARR
                                    )
           v.                       )
                                    )
SHAWN M. WYMER,                     )
                                    ) SECOND FINAL ORDER OF FORFEITURE
                  Defendant.        ) ($8,110.00 IN U.S. CURRENCY)

     It appears to the Court that proper proceedings for the

issuance of this Second Final Order of Forfeiture have been had

in this case as follows:

     1.    On June 12, 2013, a federal grand jury sitting in this

district returned a 17-count superseding indictment (Dkt. No.

48) in the above-captioned case.         Count 1 of the superseding

indictment charged defendant Shawn M. Wymer with conspiracy to

commit violations of interstate transportation of stolen motor

vehicles and goods, theft of interstate shipments and possession

of stolen interstate shipments, in violation of 18 U.S.C. § 371.

     2.    With respect to defendant Shawn Wymer, the forfeiture

provision set forth in the superseding indictment specified as

follows: “The allegations contained in [Count] 1 ... of this
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Indictment are hereby re-alleged and incorporated herein by

reference for the purpose of alleging forfeiture pursuant to 18

U.S.C. § 982(a)(5) and 18 U.S.C. § 981(a)(1)(C) & 28 U.S.C.

§ 2461.    As a result of the foregoing [offense, defendant] ...

SHAWN M. WYMER shall forfeit to the United States all property,

real and personal, which represents or is traceable to the gross

proceeds obtained, directly or indirectly, as a result of such

offense [18 U.S.C. § 982(a)(5)]; and, all property, real and

personal, which constitutes, or is derived from, proceeds

traceable to the commission of such offense [18 U.S.C.

§ 981(a)(1)(C) & 28 U.S.C. § 2461]; including, but not limited

to, the following:

     ...

     f.)   A total of $8,110.00 in U.S. Currency seized from the

Sterling chop shop on February 7, 2013. ...

     g.)   2006 Chrysler 300C, VIN: 2C3KA63H36H228612. ...

     ... .”

     3.     A change of plea hearing as to defendant Shawn Wymer

was held on September 3, 2013.        A plea agreement (Dkt. No. 99)

was executed and defendant Wymer entered a guilty plea to the

charge set forth in Count 1 of the superseding indictment.

Among other things, the parties agreed as follows with respect

to forfeiture:

     a.)   Pursuant to 18 U.S.C. Section 982(a)(5) and 18 U.S.C.

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Section 981(a)(1)(C) & 28 U.S.C. Section 2461, defendant Shawn

Wymer agreed to the forfeiture of the following properties to

the United States:

     •     A total of $8,110.00 in U.S. Currency seized from the

Sterling chop shop on February 7, 2013.

     •     2006 Chrysler 300C, VIN: 2C3KA63H36H228612.

     b.)   Defendant Shawn Wymer further stated that he is the

owner of these properties, and agreed that: (i) these properties

are subject to forfeiture under 18 U.S.C. § 982(a)(5) as they

represent, or are traceable to, the gross proceeds obtained,

directly or indirectly, as a result of the commission of the

offense charged in Count 1 of the superseding indictment; and,

(ii) these properties are subject to forfeiture under 18 U.S.C.

§ 981(a)(1)(C) & 28 U.S.C. § 2461 as they constitute, or are

derived from, proceeds traceable to the commission of the

offense charged in Count 1 of the superseding indictment.

     c.)   Pursuant to Rule 32.2(b)(4)(A) of the Federal Rules of

Criminal Procedure, defendant Shawn Wymer consented that the

forfeiture of the subject properties would become final as to

him upon the Court’s entry of the Preliminary Order of

Forfeiture.

     4.    By the Preliminary Order of Forfeiture (Dkt. No. 112),

filed on September 19, 2013, the following properties were

forfeited to the United States under 18 U.S.C. § 982(a)(5) and

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18 U.S.C. § 981(a)(1)(C) & 28 U.S.C. § 2461 for disposition in

accordance with law, subject to the provisions of 21 U.S.C.

§ 853(n) [as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C.

§ 2461(c)]:

     •     A total of $8,110.00 in U.S. Currency seized from the

Sterling chop shop on February 7, 2013.

     •     2006 Chrysler 300C, VIN: 2C3KA63H36H228612.

     5.    Under 21 U.S.C. § 853(n), third parties asserting a

legal interest in initially forfeited properties are entitled to

a judicial determination of the validity of the legal claims or

interests they assert.

     6.    By an Agreement attached as Exhibit 1 to the

Preliminary Order of Forfeiture (Dkt. No. 108-2, at Page ID Nos.

679-683), the United States and Dianna Vannes (a potential

claimant to the subject properties) agreed as follows:

     •     Dianna Vannes disclaimed any interest in the subject

properties, and consented to their forfeiture under 18 U.S.C.

§ 982(a)(5) and 18 U.S.C. § 981(a)(1)(C) & 28 U.S.C. § 2461.

     •     Dianna Vannes agreed that she will not contest the

forfeiture action instituted by the United States against the

subject properties.

     7.    In accordance with 21 U.S.C. § 853(n)(1) and Rule

32.2(b)(6) of the Federal Rules of Criminal Procedure, notice of

the Preliminary Order of Forfeiture (Dkt. No. 112) was posted on

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an official government internet site for at least 30 consecutive

days, beginning on September 25, 2013 and ending on October 24,

2013.     See, Dkt. No. 171: First Final Order of Forfeiture,

Exhibit 1 (Declaration of Publication), at Page ID Nos. 1165 and

1166.

     8.      No third party claims to the subject properties were

made as a result of the internet notification. (Docket)

     9.      On January 21, 2014, this Court entered a First Final

Order of Forfeiture (Dkt. No. 171) as to the 2006 Chrysler 300C,

VIN: 2C3KA63H36H228612.

     10.     On April 30, 2015, this Court conducted a forfeiture

hearing as to co-defendant Michael Wymer, a potential claimant

to the subject $8,110.00 in U.S. Currency.

     11.     As a result of the forfeiture hearing, the subject

$8,110.00 in U.S. Currency was found to constitute “proceeds

that were seized from the defendant and obtained from the

conspiracy as charged in Count 1 of the indictment.” 1              See, Dkt.

No. 445: Judgment, at p. 7.




     1
          Additionally, at the April 30, 2015 forfeiture hearing,
the following specific properties also were found to constitute
“proceeds during the conspiracy as to Count 1”: (i) A total of
$510.00 in U.S. Currency seized from 661 Sterling Street,
Toledo, Ohio, on February 7, 2013; and, (ii) 2012 Volkswagen
Passat, VIN: 1VWAH7A32CC096938. See, Dkt. No. 445: Judgment, at
p. 7.   These properties will be the subject of a separate Order
of Forfeiture.

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     12.   Based upon the foregoing, and in accordance with 21

U.S.C. § 853(n)(7), the United States is entitled to the entry

of this final order of forfeiture.

     Accordingly, it is ORDERED, ADJUDGED, and DECREED:

     13.   The following property is finally forfeited to the

United States under 18 U.S.C. Section 982(a)(5) and 18 U.S.C.

Section 981(a)(1)(C) & 28 U.S.C. Section 2461, and no right,

title, or interest shall exist in any other party:

     •     A total of $8,110.00 in U.S. Currency seized from the

Sterling chop shop on February 7, 2013.

     14.   The United States shall seize and take control of this

property, and shall dispose of it in accordance with law.

     SO ORDERED this 29th day of May, 2015.



                                 s/James G. Carr_____________
                                 James G. Carr
                                 United States District Judge
                                 Northern District of Ohio




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